         Case 1:16-cr-02006-EFS             ECF No. 437        filed 09/14/16       PageID.1157 Page 1 of 1
O PS 8
(3/15)
                                                                                                           FILED IN THE

                               UNITED STATES DISTRICT COURT                                            U.S. DISTRICT COURT
                                                                                                 EASTERN DISTRICT OF WASHINGTON



                                                              for                                 Sep 14, 2016
                                                                                                      SEAN F. MCAVOY, CLERK
                                             Eastern District of Washington

U.S.A. vs.                   PARKER, Jacob Chad                           Docket No.             1:16CR02006-EFS-10

                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Jacob Chad Parker, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
Mary K. Dimke in the Court at Yakima, Washington, on the 23rd day of March 2016, under the following conditions:

Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled substances
defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner. Defendant may not possess or use
marijuana, regardless of whether Defendant has been prescribed a medical marijuana card.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

The defendant is alleged to be in violation of his conditions of pretrial supervision in the Eastern District of Washington by:

Violation #4: Using controlled substance, methamphetamine on or about August 31, 2016.

   REQUESTING THE INCORPORATION OF THE VIOLATION CONTAINED IN THIS PETITION WITH THE
                        VIOLATIONS PENDING BEFORE THE COURT
                                                                            I declare under the penalty of perjury that the
                                                                            foregoing is true and correct.
                                                                            Executed on:       September 14, 2016
                                                                    by      s/Linda Leavitt
                                                                            Linda J. Leavitt
                                                                            U.S. Pretrial Services Officer


THE COURT ORDERS
[ ]  No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[X ] The incorporation of the violations contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ X] Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                              Signature of Judicial Officer
                                                                              9/14/2016


                                                                              Date
